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AO 442 [Rei'.01i09} A:'rcstWarrant

UNITED STATES DISTRICT COUR_I
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United States of America h ,:_-::'_l
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) Case_No. 3' 151-g (~_"_-- .`51{ AT

DAV|D DAVlS ) - . ;'.;

Defendanr ' .“_

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ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(rirrine ofper'son fo be arrested) DAVID DAVIS ’
who is accused of an offense or violation based on the following document filed with the court1

Ri Indictment ij Superscding Indictment ij Information ij Superseding Information D Complaint
ij Probation Violation Petition ij Supervised Release Violation Petition |JViolation Notice EI Order of the Court

T`his offense is briefly described as follows:
Conspiracy to distribute and possess with intent to distribute a mixture and substance containing a detectable amount of
oxycodone, a Schedu|e ll controlled substance, in violation of`i'itle 21, United States Codel Sections 846, 841(a)(1) and
(b)(1)(C); and moneyr laundering in violation of Titie 18, United States Code, Section 1956(h).

 

 

 

 

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City and state: £Z d .&J.//( TU _________ »-/ -
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This warrant was received on (dare) POD 7{ 645 /{ ,and the person was arrested on (dme) 6 7/_"0/ g /Q

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